   Case 19-01725-5-DMW                   Doc 203 Filed 03/09/20 Entered 03/09/20 13:33:56                    Page 1 of 1
VAN−006 Order Appointing Interim Trustee and Approving Standing Bond − Rev. 10/01/2013

                             UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF NORTH CAROLINA
IN RE:
John S. Won                                                            CASE NO.: 19−01725−5−DMW
92 Blue Violet Way
Durham, NC 27713                                                       DATE FILED: April 16, 2019

                                                                       CHAPTER: 7




                ORDER APPOINTING INTERIM TRUSTEE AND APPROVING STANDING BOND

IT IS ORDERED AND NOTICE IS HEREBY GIVEN THAT:

The following interim trustee is hereby appointed, and the trustee's standing bond is fixed under the
blanket bond heretofore approved.

Gregory B Crampton
Nicholls & Crampton, P.A.
PO Box 18237
Raleigh, NC 27619

DATED: March 9, 2020

                                                                            David M. Warren
                                                                            United States Bankruptcy Judge
